Case 4:20-cv-00957-SDJ Document 254-7 Filed 02/20/24 Page 1 of 5 PageID #: 6999

                               *FILED UNDER SEAL*


                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

        Plaintiffs,

 v.                                     Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

        Defendant.




                               EXHIBIT 9
         PLAINTIFF STATES’ OPENING BRIEF TO THE SPECIAL MASTER
                    FOR THE FEBRUARY 22, 2024 HEARING
Case 4:20-cv-00957-SDJ Document 254-7 Filed 02/20/24 Page 2 of 5 PageID #: 7000




 February 9, 2024

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 Re: The State of Texas, et al. v. Google LLC, Case No. 4:20-cv-00957-SDJ (E.D. Tex.)



 Dear Counsel:

         We write on behalf of the Plaintiff States (“States”) following up on our letter, dated
 January 16, 2024, and your response letter, dated January 30, 2024, regarding the production of
 linked files pursuant to Appendices J and D of the Order regarding Discovery Procedure (“ESI
 Protocol”).

        In our January 16 letter, the States requested that Google provide a response by January 23,
 2024, on whether Google agrees to conduct the searches for, and then produce if found, the
 requested linked documents and/or the required metadata, listed by beginning Bates Number in
 the spreadsheet attached as Appendix 1 to the Letter. The States also requested that Google
 provide a timeline for those searches and productions.
Case 4:20-cv-00957-SDJ Document 254-7 Filed 02/20/24 Page 3 of 5 PageID #: 7001


 February 9, 2024
 Via E-mail
 Page 2



         Google responded on January 30, 2024. While Google contested the reasonableness and
 proportionality and, partially, the timeliness of the request, Google stated that it agreed “to provide
 Plaintiffs with an overlay that provides additional linked document metadata, which we expect
 will address many of the documents at issue in Appendix 1. We anticipate providing that overlay
 to Plaintiffs within a week.” On February 2, 2024, Google produced “a supplemental and
 cumulative overlay for linked documents.” It does not appear that Google has produced any other
 overlays for linked documents in the interim.

       The February 2 overlay produced by Google only addresses 236 entries from the 5,811
 documents listed in Appendix 1 to our January 16 letter of documents with missing
 LinkedAttachment IDs or metadata to permit identification and access to the referenced linked
 documents. Attached as Appendix 2 is an updated list of 5,575 documents (the difference between
 236 and 5,811) that our analysis shows still do not have LinkedAttachment ID or other like
 metadata.

         Google’s January 30 letter states that “Plaintiffs already have many of the documents that
 they are now requesting.” If that is the case, please produce the metadata necessary to identify
 those linked documents corresponding with each link.

         The States continue to believe that their request for metadata to identify the linked
 documents in 5,575 documents, or production of those linked documents if not already produced,
 is reasonable and proportionate, in light of the close to 6 million documents produced by Google
 in this case. The States disagree with Google’s objection to the timing of their request. MDL
 Plaintiffs raised linked documents and metadata issues many months ago. See June 22, 2023 Letter
 from P. Korologos to R. McCallum. And four months remained in fact discovery when the States
 made their instant request and, by even Google’s count, more than half of the documents were
 produced in post-investigation productions.

         Regarding Google’s statement in its January 30 letter that its “collection of linked
 documents—beyond those that can be identified in emails using an automated tool, which
 Plaintiffs already have—is a burdensome manual process,” that statement appears to conflict with
 representations Google has made in meet and confers, as recently as today, where Google’s counsel
 has stated that certain internal Google linked documents—including those related to Google
 Workspace, G Suite, Word processing, and Google Sheets—are easy for Google to search for and
 produce the underlying linked documents or metadata to link the documents. The States want and
 are entitled to those internal Google linked documents or the metadata necessary to link
 corresponding documents. As the States previously informed Google, the lack of linked
 documents and/or the required metadata identifying the linked documents (akin to producing
 emails without identification or production of their attachments) has hindered the States’ review
 of documents and preparation for depositions, making it difficult and prejudicial to the States to
 schedule depositions without the ability to review all relevant documents.
Case 4:20-cv-00957-SDJ Document 254-7 Filed 02/20/24 Page 4 of 5 PageID #: 7002


 February 9, 2024
 Via E-mail
 Page 3



         Given that the States made their instant request for linked documents nearly a month ago,
 the States request that Google provide a final response by February 12, 2024, on whether Google
 agrees to conduct the searches for, and then produce if found, the requested linked documents
 and/or the required metadata as to the remaining 5,575 documents in Appendix 2. The States also
 request that Google, by that date, provide them a timeline of when that search and production will
 occur. The States can be available to meet and confer next week, and intend to raise this issue
 with the Special Master at the February 22, 2024 hearing.
Case 4:20-cv-00957-SDJ Document 254-7 Filed 02/20/24 Page 5 of 5 PageID #: 7003


 February 9, 2024
 Via E-mail
 Page 4



 Sincerely,


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